          Case 5:18-cv-01010-G Document 31 Filed 03/04/19 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

CORY MCDONALD, individually                    )
and on behalf of all others similarly          )
situated,                                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )          Case No. CIV-18-1010-G
                                               )
GORE NITROGEN PUMPING                          )
SERVICE, LLC, and GARY                         )
GORE,                                          )
                                               )
       Defendants.                             )

                        ADMINISTRATIVE CLOSING ORDER

       Having been advised that the parties have reached a settlement and compromise in

this matter, the Court ORDERS the Clerk of the Court to administratively terminate this

action in her records without prejudice to the rights of the parties to reopen the proceedings

for good cause shown for the entry of any stipulation or order or for any other purpose

required to obtain a final determination of the litigation.

       If the parties have not moved to reopen this matter within 30 days of this date or

moved to extend the administrative closure prior to the expiration of this 30-day period, all

claims and causes of action asserted in this case shall be deemed dismissed with prejudice.

       IT IS SO ORDERED this 4th day of March, 2019.
